                  UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF ALABAMA

In re                                                   Case No. 17-32656-DHW
                                                        Chapter 13

Wanda Bea Johnson,

        Debtor.

                    ORDER DENYING CONFIRMATION
                   AND DISMISSING BANKRUPTCY CASE

      The chapter 13 plan filed by the debtor came on for confirmation hearing on
December 18, 2017. The debtor did not attend the scheduled meeting of creditors
as required by 11 U.S.C. § 343, nor has the debtor commenced payments under the
plan as required by 11 U.S.C. § 1326. Accordingly, it is
       ORDERED that confirmation of the plan is DENIED, and this bankruptcy
case is DISMISSED. It is
       FURTHER ORDERED that the chapter 13 trustee shall file and serve on all
creditors a final report and account reflecting the receipts and disbursements in this
case.

        Done this the 18th day of December, 2017.



                                                     Dwight H. Williams, Jr.
                                                     United States Bankruptcy Judge
c:      Debtor
        Joshua C. Milam, Attorney for Debtor
        Sabrina L. McKinney, Trustee
        All Creditors




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